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                                                     KJRKLAND &. ELLIS .LLP.
                                                               ANO Aftlt.11\TLO PAR!Ntl!SJ11i'S



                                                                 601 Lexington Avenue
                                                              ·New York, ~aw York 10022
                  Dale Cf:lncl~i, i(C,
                To Cali Writer Oiraclfy:                             J212} 446«1800                                            .Facsimile:
                    (212) 446-484~                                                                                           (212) 446-4000
              da!e.ceooall@!<ids/and.com                            WWW,klrkland.com




                                                                Februar;y 25, 2019
                                                                                                      USDCSDNY
                ViaECF                                                                                DOCUMENT
                                                                                                      ELECTRONICALLYf'JLED , .
                Hon..:Oebra Freeman
                United States District Judge                                                          DOC #: ----+-~-
                Southe11i District of New York                                                        DATE FILED: :1/t?/ l'J ·
                500 Pead Street
                NewY.oik, NY 10007
                                 Re:       Take~1'w.olnterac#wJ.:Software, l~c.                   v. Cameron,No . .18 Civ. 2981
              Dear Ju~ge 'Freeman:

                     We repres.ent Plaintiff Take-Two Interactive Software, fnc. e~Tnke-Two") in the above--
              referenced litigation. We. join,tly write with counsel for Defendant Enlc Cameron
              eMr. Cameron") to provide a status· report on settlement per Your Honor's. January 11, 2019
              Order. I:lkt No. 52.
                      The p;;lfties.have made fl.ll1her progresiftoward resolving this case. P¢r Your I'{onor's
              suggestion,, Mr. Cameron provided Take-Two with additional documents., which Take~Two
              reviewed. In respo11Se to those documents. Take-Two provided counsel for Mr. Cameron with a
              proposal for resolving this case. Counsel for: Mt. Catneron has been traveling and indicated that
              he will respond to'Take-Two's proposal upon his return on Monday, February 25.

         to           The parties thus respectfully request a one-week exter1sion to resolve any 'remaining
   v.J        issues. If the parties cannot resolve the matter bi Monday, March 4, the_parties wiU request a
~ -V ~ i      follow up conference.
r"" ~ \\1             SO ORDERED:                DATE:        ?-fr ~l!t
  ii ~                -~~---------------                                                I
                               DEBRA FREEMAN        V · ,      .
                          ·. .        AGISTRAJE JUDG~a c Cendah, P.C.
                      UNITED STATES M               ,      ·

                cc:         Counsel of record (via ECF)



      Be!Jlng     Chlcaoo    Hong KontJ.   Houston   London    ~os Ang,eles      Munich      Palo Atta   San Francisco   ·S&anghal   Washil'lgb;m, O.c.
